                                                        Number";
                                               cMsg = app.response(cAsk)
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                                                   event.valuePage 1 of 6
                                                               = cMsg;
                                                      DEFENDANT'S﻿
                                                        EXHIBIT

                                                         11




         Care of children and
         adolescents with
         gender dysphoria
         Summary




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           Summary
           The National Board of Health and Welfare (NBHW) has been
           commissioned by the Swedish government to update the nation-
           al guidelines on care of children and adolescents with gender
           dysphoria, first published in 2015 [1]. Guidelines chapters are
           updated stepwise and this report contains revised guidance on
           psychosocial support and diagnostic assessment, and on puberty
           suppressing treatment with GnRH-analogues and gender-affirming
           hormonal treatment. This report thus replaces the corresponding
           chapters in the publication from 2015. Remaining chapters and the
           updated guidelines as a whole will be published later in 2022. In
           response to comments received during external review, two new
           chapters have been added, named New recommendations on hor-
           monal treatment – their reasons and consequences and Non-binary
           gender identity – current knowledge and a need for clarification.
           Another difference compared to the guidelines from 2015 [1] is
           that the term ”gender incongruence” is used alongside the term
           ”gender dysphoria”. For explanations of terms and abbreviations,
           see Appendix 2. For a description of the scientific evidence and
           clinical experience underlying the recommendations and the work
           process, see Appendices 3 and 4.
           The guidelines apply to children and adolescents, i.e. people under
           18 years of age. In the medical text sections, the term children
           (barn) refers to persons who have not yet entered puberty, while
           the term adolescents (ungdomar) refers to people whose puberty
           has started. In the text sections relating to juridical regulations,
           only the term children (barn) is used and denotes people younger
           than 18 years of age. Finally, the term “young people” (unga)
           is sometimes used in text sections addressing both children and
           adolescents.


           Introductory comment
           The summary that follows and the introductory chapter describe
           that the updated recommendations for puberty suppression with
           GnRH-analogues and gender-affirming hormonal treatment have
           become more restrictive compared to 2015, and the reasons that
           they have changed. The new recommendations entail that a larger

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           proportion than before, among adolescents with gender incongru-
           ence referred for diagnostic assessment of gender dysphoria, will
           need to be offered other care than hormonal treatments. Questions
           on how to ensure that all young people suffering from gender dys-
           phoria be taken seriously and confirmed in their gender identity,
           well received and offered adequate care are becoming increasing-
           ly relevant, and will need to be answered during the ongoing re-
           structuring of certain care for gender dysphoria into three national
           specialised medical care services (NBHW decision in December
           2020). The care for children, adolescents and adults with gender
           dysphoria in these three national specialised units aims to improve
           equality in care, coordination and dialogue, and may enhance the
           implementation of national guidelines.


           Recommendations and criteria for
           hormonal treatment
           For adolescents with gender incongruence, the NBHW deems that
           the risks of puberty suppressing treatment with GnRH-analogues
           and gender-affirming hormonal treatment currently outweigh the
           possible benefits, and that the treatments should be offered only in
           exceptional cases. This judgement is based mainly on three factors:
           the continued lack of reliable scientific evidence concerning the
           efficacy and the safety of both treatments [2], the new knowledge
           that detransition occurs among young adults [3], and the uncer-
           tainty that follows from the yet unexplained increase in the number
           of care seekers, an increase particularly large among adolescents
           registered as females at birth [4].
           A systematic review published in 2022 by the Swedish Agency for
           Health Technology Assessment and Assessment of Social Services
           [2] shows that the state of knowledge largely remains unchanged
           compared to 2015. High quality trials such as RCTs are still lacking
           and the evidence on treatment efficacy and safety is still insufficient
           and inconclusive for all reported outcomes. Further, it is not possi-
           ble to determine how common it is for adolescents who undergo
           gender-affirming treatment to later change their perception of their
           gender identity or interrupt an ongoing treatment. An important
           difference compared to 2015 however, is that the occurrence of


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           detransition among young adults is now documented [3], mean-
           ing that the uncertain evidence that indicates a low prevalence of
           treatment interruptions or any aspects of regret is no longer unchal-
           lenged. Although the prevalence of detransition is still unknown,
           the knowledge that it occurs and that genderconfirming treatment
           thus may lead to a deteriorating of health and quality of life (i.e.
           harm), is important for the overall judgement and recommendation.
           To minimize the risk that a young person with gender incongruence
           later will regret a gender-affirming treatment, the NBHW deems
           that the criteria for offering GnRH-analogue and gender-affirm-
           ing hormones should link more closely to those used in the Dutch
           protocol, where the duration of gender incongruence over time
           is emphasized [5-7]. Accordingly, an early (childhood) onset of
           gender incongruence, persistence of gender incongruence until
           puberty and a marked psychological strain in response to pubertal
           development is among the recommended criteria. The publications
           that describe these criteria and the treatment outcomes when given
           in accordance [5, 6, 8] consitute the best available knowledge and
           should be used as guidance.
           To ensure that new knowledge is gathered, the NBHW further
           deems that treatment with GnRH-analogues and sex hormones for
           young people should be provided within a research context, which
           does not necessarily imply the use of randomized controlled trials
           (RCTs). As in other healthcare areas where it is difficult to conduct
           RCTs while retaining sufficient internal validity, it is also important
           that other prospective study designs are considered for ethical
           review and that register studies are made possible. Until a research
           study is in place, the NBHW deems that treatment with GnRH-an-
           alogues and sex hormones may be given in exceptional cases,
           in accordance with the updated recommendations and criteria
           described in the guidelines. The complex multidisciplinary assess-
           ments will eventually be carried out in the three national units that
           are granted permission to provide highly specialized care services.
           In accordance with the DSM-5, the recommendations in the guide-
           lines from 2015 applied to young people with gender dysphoria in
           general, i.e. also young people with a non-binary gender identity.
           Another criterion within the Dutch protocol is that the child has had
           a binary (“cross-gender”) gender identity since childhood [5, 6].


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           It has emerged during the review process, that the clinical expe-
           rience and documentation of puberty-suppressing and hormonal
           treatment for young people with non-binary gender identity is lack-
           ing, and also that it is limited for adults. The NBHW still considers
           that gender dysphoria rather than gender identity should determine
           access to care and treatment. An urgent work thus remains, to
           clarify criteria under which adolescents with non-binary gender
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           hormonal treatment within a research framework.


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